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                                           MINUTE ORDER                                                        Page 4

                                   Magistrate Judge Enjolique A. Lett
                   Atkins Building Courthouse - 10th Floor                        Date: 2/25/25         Time: 1:30 p.m.
Defendant: Shelton K. Thornton                J#: 14015-506      Case #: 25-MJ-2352-LETT
AUSA: Joe Egozi                                  Attorney: AFPD: MaeAnn Dunker
Violation: ED WI/WARR/IND/Consp to PWID MDMA and      Surr/Arrest Date: 02/22/25                      YOB: 1997
          Ketamine
Proceeding: Initial Appearance                                        CJA Appt:
Bond/PTD Held:       Yes      No         Recommended Bond:
Bond Set at: TEMP PTD                                                 Co-signed by:
     Surrender and/or do not obtain passports/travel docs                   Language: English
     Report to PTS as directed/or            x’s a week/month by            Disposition:
     phone:          x’s a week/month in person                              Indictment partially Unsealed as to
     Random urine testing by Pretrial
     Services                                                                Mr. Thornton. Defendant advised of
     Treatment as deemed necessary                                           right and charges. Defendant sworn.
     Refrain from excessive use of alcohol                                   Defendant Ore Tenus motion to
     Participate in mental health assessment & treatment                     appoint counsel – GRANTED. AFPD
     Maintain or seek full-time employment/education                         appointed partially – defendant to pay
     No contact with victims/witnesses, except through counsel               $3K in Court registry. Defense Ore
     No firearms                                                             Tenus motion to reduce court registry
     Not to encumber property                                                deposit or remove it – GRANTED.

     May not visit transportation establishments                             Gov’t seeks – PTD due to risk of flight.
     Home Confinement/Electronic Monitoring and/or                           Wavier of Removal – signed in open
     Curfew          pm to           am, paid by                             court.
     Allowances: Medical needs, court appearances, attorney visits,         Defendant removed to the Eastern
     religious, employment                                                  District of WI
     Travel extended to:
                                                                              Time from today to ________ excluded
     Other:                                                                   from Speedy Trial Clock
NEXT COURT APPEARANCE      Date:            Time:            Judge:                          Place:
Report RE Counsel:
PTD/Bond Hearing:
Prelim/Arraign or Removal:
Status Conference RE:
D.A.R. 14:39:56                                                       Time in Court: 19 mins
                                     s/Enjolique A. Lett                                  Magistrate Judge
